                       Case 21-57421-wlh                          Doc 1             Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
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 Fill in this information to identify your case.                                                      e .171:0'04 t.
                                                                                                    •..tiSANY,R.Q-1-,1-6 •          c:f1:1W1
                                                                                                        .NOR-TliERN
 United States Bankruptcy Court for the:

                Northern District of Georgia                                                                                 roi            C
                                                                                                            neT
                                                                                                            vu       '5'
                                                                                                                                            1,0


 Case number (If known)'                              Chapter you are filing under:
                                                      W.1     Chapter 7
                                                      •       Chapter 11
                                                      •       Chapter 12
  21- 57421                                           •       Chapter 13
                                                                                                                                      r           Li   Check if this is an
                                                                                                                                                       amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                     04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a Joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer would be yes if either debtor owns
a cat When information is needed about the spouses separately, the form uses Debtor l and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):
        Your full name

        Write the name that is on your             Shamoya
        government-issued picture                  First name                                                        First name
        identification (for example, your
        driver's license or passport).
                                                   Middle name                                                       Middle name
        Bring your picture identification to       Bailey
        your meeting with the trustee.             Last name                                                         Last name


                                                   Suffix (Sr., Jr, II, Ill)                                         Suffix (Sr.. Jr, II, Ill)




  2.    All other names you have used
        in the last 8 years
                                                   First name                                                        First name
        Include your married or maiden
        names.                                     Middle name                                                       Middle name


                                                   Last name                                                         Last name




                                                   First name                                                        First name


                                                   Middle name                                                       Middle name


                                                   Last name                                                         Last name




    .   Only the last 4 digits of your                                                                               xxx - >o< - —
                                                   )ozx - )c< - 0       4      7    5
        Social Security number or
        federal Individual Taxpayer                OR                                                                OR
        Identification number                      9xx - xx -                                                        9xx -      -
        (ITIN)




Official Form 101                                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1            Shamoya                                         Bailey                                            Case number (if known)
                    First Name          Middle Name                 Last Name


                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


 4.   Any business names and
      Employer Identification
                                         Al have not used any business names or EINs.                       JI have not used any business names or EINs.
      Numbers (EIN) you have used
      in the last 8 years
                                         Business name                                                      Business name
      Include trade names and doing
      business as names
                                         Business name                                                      Business name



                                         EIN                                                                EIN



                                         EIN                                                                EIN



                                                                                                            If Debtor 2 lives at a different address:
  .   Where you live
                                         699 Formwalt St SW
                                         Number     Street                                                  Number          Street




                                         Atlanta, GA 30315
                                         City                                      Slate      ZIP Code      City                                  State      ZIP Code

                                         Fulton
                                         County                                                             County

                                         If your mailing address is different from the one above, fill      If Debtor 2's mailing address is different from yours, fill it
                                         it in here. Note that the court will send any notices to you at    in here. Note that the court will send any notices to you at this
                                         this mailing address.                                              mailing address.



                                         Number            Street                                           Number          Street



                                         P.O. Box                                                           P.O. Box



                                         City                                      State      ZIP Code      City                                  State      ZIP Code




      Why you are choosing this          Check one:                                                         Check one:
      district to file for bankruptcy
                                         di Over the last 180 days before filing this petition, I have      Li Over the last 180 days before filing this petition, I have
                                                lived in this district longer than in any other district,      lived in this district longer than in any other district.

                                         Li     I have another reason. Explain.                             Li I have another reason. Explain.
                                                (See 28 U.S.C. § 1408)                                             (See 28 U.S.C. § 1408)




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 2
                    Case 21-57421-wlh                Doc 1          Filed 10/04/21 Entered 10/04/21 14:19:59                                       Desc
                                                                   Petition Page 3 of 63
 Debtor 1           Shamoya                                        Bailey                                             Case number (if known)
                    First Name          Middle Name                Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


       The chapter of the Bankruptcy    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Code you are choosing to file    (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under
                                              Chapter 7
                                        LI    Chapter 11
                                        LI    Chapter 12
                                        LI    Chapter 13



   .   How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                        U I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             The Filing Fee in Installments (Official Form 103A).

                                        LI I request that my fee be waived (You may request this option only if you are filing for Chapter 7. Bylaw, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




  9.   Have you filed for bankruptcy    0 No.
       within the last 8 years?
                                        LIYes.     District                                         When                           Case number
                                                                                                           MM / DD / YYYY

                                                   District                                         When                           Case number
                                                                                                           MM / DD / YYYY

                                                   District                                         When                           Case number
                                                                                                           MM / DD / YYYY




  10. Are any bankruptcy cases          0 No.
      pending or being filed by a
      spouse who is not filing this     U Yes. Debtor                                                                           Relationship to you
      case with you, or by a business
      partner, or by an affiliate?                 District                                      When                          Case number, if known
                                                                                                        MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                          Case number, if known
                                                                                                        MM / DD / YYYY




  11. Do you rent your residence?       U    No.    Go to line 12.

                                        Sid Yes. Has your landlord obtained an eviction judgment against you?

                                                    1_1   No. Go to line 12,

                                                    0     Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                          of this bankruptcy petition.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                           page 3
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                                                                        Petition Page 4 of 63
 Debtor 1             Shamoya                                           Bailey                                             Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of any        ia No. Go to Part 4.
      full- or part-time business?
                                              CI Yes. Name and location of business
      A sole proprietorship is a business
      you operate as an individual, and is
      not a separate legal entity such as          Name of business, if any
      a corporation, partnership, or LLC.

      If you have more than one sole               Number           Street
      proprietorship, use a separate
      sheet and attach it to this petition.


                                                   City                                                   State             ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   D      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                   D      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   j      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   Li     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                   Li None of the above



  13. Are you filing under Chapter 11         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
      of the Bankruptcy Code, and             under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
      are you a small business debtor         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
      or a debtor as defined by 11            statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      U.S. C. § 1182(1)?
                                              Sa No.          I am not filing under Chapter 11.
      For a definition of small business
      debtor, see 11 U.S.C. § 101(51D).       121 No.         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                              Bankruptcy Code.

                                              Li   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                              Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                              Ii   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                              and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
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 Debtor 1            Shamoya                                       Bailey                                            Case number (if known)
                     First Name             Middle Name            Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any                66 No.
      property that poses or is
      alleged to pose a threat of           LI Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                      If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that
      needs urgent repairs?

                                                      Where is the property?
                                                                                  Number         Street




                                                                                  City                                              State      ZIP Code




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 5
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 Debtor 1            Shamoya                                          Bailey                                             Case number (if known)
                     First Name            Middle Name                 Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                  You must check one:
      receive a briefing about credit
      counseling before you file for           I received a briefing from an approved credit counseling        IL] I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I flied this bankruptcy
      check one of the following               petition, and I received a certificate of completion.                petition. and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if            Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                             any, that you developed with the agency.

      If you file anyway, the court can   Li   I received a briefing from an approved credit counseling        Li   I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I flied this bankruptcy            agency within the 180 days before !flied this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.             petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days alter you file this bankruptcy petition. you          Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if             MUST file a copy of the certificate and payment'plan. if
                                               any.                                                                 any.

                                               I certify that I asked for credit counseling services from an   Li I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services             approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent               during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                 circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                         requirement
                                               To ask for a 30-day temporary waiver of the requirement,             To ask for a 30-day temporary waiver of the requirement.
                                               attach a separate sheet explaining what efforts you made             attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it             to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                    before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                        circumstances required you to file this case.

                                                Your case may be dismissed lithe court is dissatisfied              Your case may be dismissed if the court is dissatisfied
                                                with your reasons for not receiving a briefing before you           with your reasons for not receiving a briefing before you
                                                filed for bankruptcy.                                               tiled for bankruptcy.

                                                If the court is satisfied with your reasons, you must still          If the court is satisfied with your reasons, you must still
                                                receive a briefing within 30 days after you file.                    receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved agency,                You must file a certificate from the approved agency.
                                                along with a copy of the payment plan you developed. if              along with a copy of the payment plan you developed, if
                                                any If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                                Any extension of the 30-day deadline is granted only for             Any extension of the 30-day deadline is granted only for
                                                cause and is limited to a maximum of 15 days.                        cause and is limited to a maximum of 15 days.

                                          U    lam not required to receive a briefing about credit             U    I am not required to receive a briefing about credit
                                               counseling because of:                                               counseling because of:
                                               1=1   incapacity. I have a mental illness or a mental                U     Incapacity. I have a mental illness or a mental
                                                                 deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                 of realizing or making rational                                      of realizing or making rational
                                                                 decisions about finances.                                            decisions about finances.
                                                     Disability.   My physical disability causes me to              CI    Disability.   My physical disability causes me to
                                                                   be unable to participate in a briefing                               be unable to participate in a briefing
                                                                   in person, by phone. or through the                                  in person, by phone. or through the
                                                                   Internet. even after I reasonably tried                              Internet, even after I reasonably tried
                                                                   to do so.                                                            to do so.
                                                CI   Active duty. I am currently on active military duty in         CI    Active duty. I am currently on active military duty in
                                                                  a military combat zone,                                              a military combat zone.

                                               -If you believe you are not required to receive a briefing            If you believe you are not required to receive a briefing
                                                 about credit counseling, you must tile a motion for waiver          about credit counseling, you must file a motion for waiver
                                                 of credit counseling with the court.                                of credit counseling with the court.




Official Form 101                                           Voluntary Petition for individuals Filing for Bankruptcy                                                              page 6
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Debtor 1            Shamoya                                          Bailey                                              Case number (it known)
                    First Name             Middle Name               Last Name


Part 6: Answer These Questions for Reporting Purposes


 16. What kind of debts do you               16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by
     have?                                       an individual primarily for a personal, family, or household purpose."
                                                    •      No. Go to line 16b.
                                                   16      Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                  business or investment or through the operation of the business or investment.
                                                    •      No. Go to line 16c.
                                                    •      Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



 17. Are you filing under Chapter 7?                No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any                Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded and                    expenses are paid that funds will be available to distribute to unsecured creditors?
      administrative expenses are paid                             No
      that funds will be available for                             Yes
      distribution to unsecured
      creditors?

  21. How many creditors do you                •    1-49            U    1,000-5,000          1-.1 25,001-50,000 Li 50,000-100,000 U            More than 100,000
      estimate that you owe?                   •    50-99           LI   5,001-10,000
                                                    100-199         Li   10,001-25,000
                                               •    200-999


 19. How much do you estimate your             •    $0-$50,000                         •   $1,000,001-$10 million                    •    $500,000,001-$1 billion
     assets to be worth?                       •    $50,001-$100,000                   •   $10,000,001-$50 million                   •    $1,000,000,001-$10 billion
                                               •    $100,001-$500,000                  •   $50,000,001-$100 million                  •    $10,000,000,001-$50 billion
                                               •    $500,001-$1 million                •   $100,000,001-$500 million                 O    More than $50 billion


  20. How much do you estimate your            A    $0-$50,000                         •   $1,000,001-$10 million                    •    $500,000,001-$1 billion
      liabilities to be?                       O    $50,001-$100,000                   •   $10,000,001-$50 million                   •    $1,000,000,001-$10 billion
                                               •    $100,001-$500,000                  •   $50,000,001-$100 million                  •    $10,000,000,001-$50 billion
                                               •    $500,001-$1 million                •   $100,000,001-$500 million                 O    More than $50 billion

 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 ft have chosen to file under Chapter 7, lam aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                 Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                 obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X     /s/ Sham. a Bail-                -
                                        Shamoya Bailey, D
                                        Executed on 10,04/2021
                                                      MM/ 013/ YYYY




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 Debtor 1           Shamoya                                          Bailey                                             Case number (if known)
                    First Name             Middle Name               Last Name



   For you if you are filing this            The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many people
   bankruptcy without an attorney            find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term financial and legal
                                             consequences, you are strongly urged to hire a qualified attorney
   If you are represented by an attorney
   you do not need to file this page.       To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
                                            inaction may affect your rights. For example, your case may be dismissed because you did not file a required document, pay a
                                            fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or
                                            audit firm if your case is selected for audit. If that happens, you could lose your right to file another case, or you may lose
                                            protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay a
                                            particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may not be
                                            discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as destroying or
                                            hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if debtors have been '
                                            accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney The court will not
                                            treat you differently because you are filing for yourself. To be successful, you must be familiar with the United States
                                            Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is filed. You
                                            must also be familiar with any state exemption laws that apply

                                             Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

                                             J      No

                                             A      Yes

                                             Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
                                             could be fined or imprisoned?

                                             j      No

                                             111 Yes

                                             Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

                                             J No
                                             A      Yes. Name of person Lewis, Charles
                                                         Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney I have read and understood this
                                            notice, and I am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if I do not
                                            properly handle the case.

                                                      /s/Shamoya Bailey
                                                     Shamoya Bailey, D1or 1

                                                     Date         10/04/2021
                                                                  MM/ DD/ YYYY


                                                 Contact phone (770) 873-6575                                       Contact phone

                                                 Cell phone (770) 873-6575                                          Cell phone

                                                 Email address baileyshamoya@qmail.com                              Email address




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 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                     Bailey
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Northern District of Georgia

  Case number                                                                                                                            Li   Check if this is an
  (if known)                                                                                                                                  amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1.What is your current marital status?

    Li Married
     A Not married
  2.During the last 3 years, have you lived anywhere other than where you live now?

    LI No
     A Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:



                                                                                         D Same as Debtor 1                                    IJ Same as Debtor 1
    4050 Willow Ridge Rd                                      From 12t13/2018                                                                  From
    Number Street                                                                           Number     Street
                                                              To     03/26/2020                                                                To


    Douglasville, GA 30135
    City                               State ZIP Code                                       City                        State ZIP Code



                                                                                         L.1 Same as Debtor 1                                  Li Same as Debtor 1
    4050 Willow Ridge Rd                                      From 12t132018                                                                   From
    Number Street                                                                           Number     Street
                                                              To     03/26/2020                                                                To


    Douglasville, GA 30135
    City                               State ZIP Code                                       City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or tenitory?( Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

     A No
     LI Yes. Make sure you fill out Schedule H: Your       odebtors (Official Form 106H).



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
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                                                                    Petition Page 10 of 63
Debtor 1            Shamoya                                       Bailey                                             Case number (if known)
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4.Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No

    A Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income            Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.        (before deductions and
                                                                                  exclusions)                                                exclusions)


    From January 1 of current year until the       CI Wages, commissions,                                     D Wages, commissions,
                                                      bonuses, tips                                             bonuses, tips
    date you filed for bankruptcy:
                                                   jOperating a business                                          Operating a business


    For last calendar year:                        A Wages, commissions,                                       J Wages, commissions,
                                                       bonuses, tips                          $6,250.00          bonuses, tips
    (January 1 to December 31, .2020    )
                                   YYYY            LlOperating a business                                      C] Operating a business


    For the calendar year before that:             ki Wages, commissions,                                     Li Wages, commissions,
                                                       bonuses, tips                         $20,000.00          bonuses, tips
    (January 1 to December 31 2019    )
                                 YYYY              ['Operating a business                                      jOperating a business



  5.Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    A No
        Yes. Fill in the details.

                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income            Gross Income from each
                                                    Describe below.               sou
                                                                                  source                        Describe below.              SOUtte

                                                                                  (before deductions and                                     (before deductions and
                                                                                  exclusions)                                                exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2020    )
                                  YYYY



    For the calendar year before that:
    (January 1 to December 31, 2019         )
                                     YYYY




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'Debtor 1           Shamoya                                           Bailey                                              Case number (if known)
                    First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     jNo.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
               individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               UN°. Go to line 7.
               ['Yes.      List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony Also, do not include
                           payments to an attorney for this bankruptcy case.
               *Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment


    OYes.      Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    No. Go to line 7.

               LiYes.      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                                                     Total amount paid         Amount you still owe


                                                                                                                                           LiMortgage
             Creditor's Name                                                                                                               Li Car
                                                                                                                                           jCredit card
             Number       Street                                                                                                           Li Loan repayment
                                                                                                                                           jSuppliers or vendors
                                                                                                                                           jOther
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony

       No
    D Yes. List all payments to an insider.
                                                                                  Total amount paid    Amount you still owe        Reason for this payment




    Insider's Name


    Number      Street




    City                         State      ZIP Code




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Debtor 1            Shamoya                                        Bailey                                              Case number (if known)
                    First Name                Middle Name          Last Name



 8.Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
 Include payments on debts guaranteed or cosigned by an insider.

    gi No

       Yes. List all payments that benefited an insider.

                                                            Dates of           Total amount paid      Amount you still oWe        Reason for this payment
                                                            payment                                                               Include creditor's name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9.Within 1 year before you filed for bankruptcy were you a party in any lawsuit court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

       No

    ilYes. Fill in the details.

                                                      Nature of the c                                                                              Status of the case

    Case title       Dispossessory                    Na
                                                                                               Fulton County                                      j Pending
                                                                                               Court Name
    Case number 21ed19083                                                                                                                         jOn appeal
                                                                                                                                                  jConduded
                                                                                               Number      Street


                                                                                               City                       State      ZIP Code


    Case title       Dispossessory                                                              Fulton County                                    LiPending
                                                                                               Court Name
    Case number 21a119083                                                                                                                        LIOn appeal
                                                                                                                                                 DConcluded
                                                                                               Number      Street


                                                                                               City                       State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your properly repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    Li No. Go to line 11.

        Yes. Fill in the information below.




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iDebtor 1           Shamoya                                        Bailey                                           Case number (if known)
                    First Name              Middle Name            Last Name

                                                                     Describe the property                                    Date           Value of the property
                                                                    Vehicle was repossessed
    Santander Consumer USA                                                                                                02/18/2021
    Creditor's Name


    Number      Street                                               Explain what happened

                                                                    btiProperty was repossessed.
                                                                    LiProperty was foreclosed.
                                                                    L1Property was garnished.
    City                            State   ZIP Code                D Property was attached, seized, or levied.

                                                                     Describe the property                                    Date           Value of the property
                                                                    Vehicle was repossessed
    Santander Consumer USA                                                                                                02/18/2021
    Creditor's Name


    Number      Street                                               Explain what happened

                                                                    A Property was repossessed.
                                                                    Li Property was foreclosed.
                                                                    LiProperty was garnished.
    City                            State   ZIP Code                jProperty was attached, seized, or levied.




  11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

     A No
    Li Yes. Fill in the details.

                                                            Describe the action the creditor took

    Creditor's Name


    Number      Street



    City                           State    ZIP Code
                                                           Last 4 digits of account number:




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

     A No
     Li Yes



 Part 5: List Certain Gifts and Contributions


  13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     0 No

     Dyes. Fill in the details for each gift.




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Debtor 1             Shamoya                                       Bailey                                           Case number (if known)
                     First Name             Middle Name             Last Name

     Gifts with a total value of more than $600 per        Describe the gifts                                           Dates you gave
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person's relationship to you




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    A No
    jYes. Fill in the details for each gift or contribution.

     Gifts or contributions to charities that Describe what you contributed                                       Date you               Value
     total more than $600                                                                                         contributed



    Charity's Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    A No
    JYes. Fill in the details.

     Describe the property you lost and         Describe any insurance coverage for the loss                                             Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule NB: Property.




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Debtor 1            Shamoya                                    Bailey                                            Case number (if known)
                    First Name           Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    A No
       Yes. Fill in the details.

                                               Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid


    Number      Street




    City                    Slate   ZIP Code


    Email or website address


    Person Who Made the Payment, it Not You



  17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any properly to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    A No
    j Yes. Fill in the details.

                                               Description and value Of any property transferred               Date payment or         Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid


    Number      Street




    City                    State   ZIP Code



  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers arid transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    A No
    JYes. Fill in the details.




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Debtor 1            Shamoya                                      Bailey                                              Case number (if known)
                    First Name              Middle Name           Last Name

                                                  Description and value of property           Describe any property or payments received        Date transfer was
                                                  transferred                                 or debts paid In exchange                         made

    Person Who Received Transfer


    Number      Street




    City                    State   ZIP Code
    Person's relationship to you




  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    A No
    Liles. Fill in the details.

                                                  Description and value of the property transferred                                             Date transfer was
                                                                                                                                                made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other finandal institutions.

    A No
    L-1Yes. Fill in the details.

                                                   Last 4 digits of account number         lips of account or         Date account was             Last balance
                                                                                                                      closed, sold moved, or       before closing or
                                                                                                                      transferred                  transfer

    Name of Financial Instttution
                                                   XXXX—                                  DChecking
                                                                                          jSavings
    Number      Street                                                                    jMoney market
                                                                                          fj Brokerage
                                                                                          L.J0ther

    City                    State   ZIP Code



  21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?
    ANo
    D Yes. Fill in the details.




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Debtor 1            Shamoya                                    Bailey                                          Case number (if known)
                    First Name           Middle Name           Last Name

                                                 Who else had access to it?                   Describe the contents                         Do you still have


                                                                                                                                        D No
    Name of Financial institution               Name                                                                                    Li Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    A No
       Yes. Fill in the details.

                                                 Who else has or had access to it?            Describe the contents                         Do you still have
                                                                                                                                            It?

                                                                                                                                        j    No
    Name of Storage Facility                    Name                                                                                    Li Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                    State   ZIP Code



 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    A No
    Li Yes. Fill in the details.

                                                :. Where is the property?:                    Describe the property                         Value



    Owner's Name                                           Street
                                                Number


    Number      Street

                                                City                  State   ZIP Code


    City                    State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
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Debtor 1            Shamoya                                        Bailey                                               Case number (if known)
                    First Name            Middle Name              Last Name
 Part 10: Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
   g Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
     or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
     wastes, or material.
   g Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
     including disposal sites,
   g Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
     contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    0 No

    j   Yes. Fill in the details.

                                                   Governmental unit                          Environmental law, if you know it                         Date of notice


    Name of site                                  Governmental unit


    Number       Street                           Number      Street


                                                  City                 State   ZIP Code

    City                     State   ZIP Code



  25. Have you notified any governmental unit of any release of hazardous material?

    A No
        Yes. Fill in the details.

                                                   Governmental unit                           Environmental law, If you know it                        Date of notice


    Name of site                                  Governmental unit


    Number       Street                           Number      Street


                                                  City                 State   ZIP Code

    City                     State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    0 No

    JYes. Fill in the details.




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Debtor 1            Shamoya                                            Bailey                                              Case number (if known)
                    First Name              Middle Name                Last Name

                                                     Court or agency                             Nature of the case


    Case title                                                                                                                                      ['Pending
                                                    Court Name
                                                                                                                                                    UOn appeal
                                                                                                                                                    ['Concluded
                                                   Number         Street


    Case number
                                                    City                   State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27.Within 4 years before you filed for bankruptcy did you own a business or have any of the following connections to any business?

           J A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

           J A member of a limited liability company (LLC) or limited liability partnership (LLP)

           Li A partner in a partnership

           Li An officer, director, or managing executive of a corporation
           J An owner of at least 5% of the voting or equity securities of a corporation
    if No. None of the above applies. Go to Part 12.
    ]Yes. Check all that apply above and fill in the details below for each business.

                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN.

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                  To

    City                     State   ZIP Code



  28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parries.
    ANo
       Yes. Fill in the details below.

                                                       Date issued



    Name                                             MM/ DC/ YYYY



    Number        Street




    City                     State   ZIP Code




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Debtor 1            Shamoya                                    Bailey                                          Case number (if known)
                    First Name          Middle Name            Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/Shamoya Bate
       Signature of Sham9tá Bail y, Debtor 1


        Date 10/04/2021




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   A No
   j   Yes


 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   DNo
                                                                                                     Attach the Bankruptcy Petition Preparers Notice,
   A Yes. Name of person Lewis, Charles                                                              Declaration, and Signature (Official Form 119).
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 Fill in this information to identify your case and this filing:

  Debtor 1                    Shamoya                                         Bailey
                             First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing)        First Name              Middle Name             Last Name

  United States Bankruptcy Court for the:                             Northern District of Georgia
                                                                                                                                            U       Check if this is an
  Case number                                                                                                                                       amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15

In each category separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  .   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      SA No. Go to Part 2.
      Ll Yes. Where is the property?
                                                                   What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other                  U Single-family home                                  amount of any secured claims on Schedule D: Creditors
           description                                                                                                   Who Have Claims Secured by Property.
                                                                   U Duplex or multi-unit building
                                                                   U Condominium or cooperative                         Current value of the          Current value of the
                                                                   U Manufactured or mobile home                        entire property?              portion you own?
                                                                   LI Land
           City                           State     ZIP Code       Li Investment property
                                                                   Li Timeshare                                         Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
                                                                   U Other
                                                                                                                        estate), if known.
           County
                                                                   Who has an interest in the property? Check one.
                                                                   U Debtor 1 only
                                                                   U Debtor 2 only
                                                                   U Debtor 1 and Debtor 2 only                         U Check if this is community property
                                                                   Li At least one of the debtors and another             (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
 2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here                                                                                     —)                   $0.00




Official Form 106A/B                                                                   Schedule A/B: Property                                                        page 1
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Debtor 1              Shamoya                                          Bailey                                              Case number (if known)
                      First Name             Middle Name               Last Name



Part 2: Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

      Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      Ri No
      LI Yes


     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
     id No
     j Yes

5    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                    -4               $0.00
     you have attached for Part 2. Write that number here



Part 3: Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

     Household goods and furnishings
     Examples:      Major appliances, furniture, linens, china, kitchenware
           No
                                      See Attached.
           Yes. Describe                                                                                                                                            $120.00


     Electronics
     Examples:      Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games
      A No
      D Yes. Describe.....

      Collectibles of value
     Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                     stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No                                                                                                                                                        $60.00
                                      See Attached.
           Yes. Describe........


      Equipment for sports and hobbies
      Examples:      Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf dubs, skis; canoes and kayaks;
                     carpentry tools; musical instruments
      A No
      D Yes. Describe

 10. Firearms
      Examples:      Pistols, rifles, shotguns, ammunition, and related equipment
      A No
           Yes. Describe........



Official Form 106A/B                                                               Schedule NB: Property                                                          page 2
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Debtor 1               Shamoya                                          Bailey                                           Case number (if known)
                       First Name             Middle Name               Last Name



11.   Clothes
      Examples:      Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      j    No
                                      See Attached.                                                                                                              $300.00
           Yes. Describe........



 12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      d    No
                                      See Attached.
           Yes. Describe
                                                                                                                                                                  830.00



 13. Non-farm animals
      Examples: Dogs, cats, birds, horses
           No
      LI Yes. Describe

 14. Any other personal and household items you did not already list, including any health aids you did not list

      SA No
      0 Yes. Describe

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here                                                                                        —>                              $510.00




 Part 4: Describe Your Financial Assets

                                    or equitable interest in                                                                                      Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.


 16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      ql No
         Yes                                                                                                     Cash.



 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                     similar institutions. If you have multiple accounts with the same institution, list each.
           No
           Yes

                                             Institution name:



      17.1. Checking account:                 BBVA Account Number: 6763829799                                                        $30.00




Official Form 106AB                                                                 Schedule A/B: Property                                                    page 3
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Debtor 1               Shamoya                                     Bailey                                      Case number (if known)
                       First Name           Middle Name            Last Name



       17.2. Checking account:             BBVA Account Number: 6763829799                                               $30.00


       17.3. Savings account:


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:     Bond funds, investment accounts with brokerage firms, money market accounts
       0 No
         Yes
       Institution or issuer name:




 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

           No
       Li Yes. Give specific
           information about
           them

       Name of entity:                                                              % of ownership:




 20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       0 No
       Li Yes. Give specific
          information about
          them

       Issuer name:




Official Form 106A/B                                                         Schedule A/B: Property                                            page 4
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Debtor 1                Shamoya                                      Miley                                             Case number (if known)
                        First Name             Middle Name           Last Name


      Retirement or pension accounts
      Examples:      Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No
      Li Yes. List each account
           separately
      Type of account:               Institution name:

      401(k) or similar plan:


      Pension plan:


      IRA:


      Retirement account:


      Keogh:


      Additional account:


22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
      others
      ki No
         Yes
                              Institution name or individual:

      Electric:


      Gas:


      Heating oil:


      Security deposit on rental unit


      Prepaid rent:


      Telephone:


      Water:


      Rented furniture:


      Other:




Official Form 106A/B                                                            Schedule NB: Property                                                  page 5
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Debtor 1             Shamoya                                         Bailey                                       Case number (if known)
                     First Name              Middle Name             Last Name


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      Vi No
      Li ves
      Issuer name and description:




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
      D Yes
      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
      benefit

           No
      0 Yes. Give specific
           information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements

      66 No
      U Yes. Give specific
         information about them....


27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                    professional licenses
           No
      0 Yes. Give specific
           information about them....


Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.


28. Tax refunds owed to you

           No
       0 Yes.    Give specific information about                                                                      Federal:
                 them, including whether you
                 already filed the returns and the                                                                    State:
                 tax years
                                                                                                                      Local:



 29. Family support
       Examples: Past due or lump sum alimony spousal support, child support, maintenance, divorce settlement, property settlement




Official Form 106A/B                                                             Schedule NB: Property                                                  page 6
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Debtor 1              Shamoya                                           Bailey                                               Case number (if known)
                      First Name              Middle Name               Last Name



       gi No
       U Yes. Give specific information
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                               Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


30.    Other amounts someone owes you
       Examples:    Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social
                    Security benefits; unpaid loans you made to someone else
       0 No
       U Yes. Give specific information




31.    Interests in insurance policies
       Examples:    Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
       0 No
       U Yes. Name the insurance company
                                                           Company name:                                           Beneficiary:                        Surrender or refund value:
              of each policy and list its value....




 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       0 No
       U Yes. Give specific information




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
       0 No
       U Yes. Describe each claim




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       0 No
       U Yes. Describe each claim




 35.   Any financial assets you did not already list

       66 No
       U Yes. Give specific information




Official Form 106AB                                                                Schedule NB: Property                                                              page 7
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Debtor 1                Shamoya                                       Bailey                                           Case number (if known)
                        First Name            Middle Name             Last Name



36.    Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                  —)                                    $90.00



Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.    Do you own or have any legal or equitable interest in any business-related property?
       0 No. Go to Part 6.
       LI Yes. Go to line 38.

                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.

38.    Accounts receivable or commissions you already earned

       0   No
       CI Yes. Describe

39.    Office equipment, furnishings, and supplies
       Examples:       Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       0   No
       CI Yes. Describe

40.    Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       0   No
       CI Yes. Describe

 41.   Inventory

       szi No
       D Yes. Describe

 42.   Interests in partnerships or joint ventures

       0   No
       Li Yes. Describe
       Name of entity:                                                                  % of ownership:




 43.   Customer lists, mailing lists, or other compilations
           No
       Li Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   0    No
                   Li Yes. Describe




Official Form 106AB                                                             Schedule A/B: Property                                                        page 8
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 Debtor 1              Shamoya                                       Bailey                                        Case number Of known)
                       First Name            Middle Name             Last Name


 44. Any business-related property you did not already list

      66 No
      U Yes. Give specific
         information




 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here                                                                               —)                                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      ca No. Go to Part 7.
      D Yes. Go to line 47.

                                                                                                                                           Current Value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

 43. Farm animals
      Examples:     Livestock, poultry, farm-raised fish
      i6 No
      U Yes


 44. Crops—either growing or harvested

      Vi No
      U Yes. Give specific
         information


 49   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

         No
      LI Yes



 50. Farm and fishing supplies, chemicals, and feed

      id No
         Yes



 47. Any farm- and commercial fishing-related property you did not already list

      10 No
      U Yes. Give specific
         information


 52   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
      for Part 6. Write that number here                                                                               —>                                  $0.00




Official Form 106A/B                                                         Schedule NB: Property                                                    page 9
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Debtor 1               Shamoya                                         Bailey                                    Case number (if known)
                       First Name            Middle Name               Last Name



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


53.    Do you have other property of any kind you did not already list?
       Examples:     Season tickets, country club membership
             No
       [...1 Yes. Give specific
             information




54.    Add the dollar value of all of your entries from Part 7. Write that number here                              —>                                 $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2                                                                            —>                                 $0.00


 56.   Part 2: Total vehicles, line 5                                                      $0.00


 57.   Part 3: Total personal and household items, line 15                               $510.00


 58.   Part 4: Total financial assets, line 36                                            $90.00


 59.   Part 5: Total business-related property, line 45                                    $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                           $0.00


61.    Part 7: Total other property not listed, line 54                                    $0.00


 62.   Total personal property. Add lines 56 through 61... • .......                     $600.00    Copy personal property total—)                $600.00
                                                                                                                                     [1-



 63.   Total of all property on Schedule A/B. Add line 55 + line 62                                                                                  $600.00




Official Form 106AB                                                            Schedule A/B: Property                                             page 10
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 Debtor 1               Shamoya                            Bailey                           Case number (if known)
                        First Name       Middle Name       Last Name


                                                       SCHEDULE A/B: PROPERTY
                                                             Continuation Page

  .    Household goods and furnishings
       sofa(s)                                                                                                               $15.00
       kitchen table                                                                                                          $0.00
       dishes/flatware                                                                                                       $10.00
       pots! pans / cookware                                                                                                 $15.00
       sofa(s)                                                                                                               $15.00
       kitchen table                                                                                                          $0.00
       dishes / flatware                                                                                                     $10.00
       pots! pans / cookware                                                                                                 $15.00
       sofa(s)                                                                                                               $15.00
       kitchen table                                                                                                          $0.00
       dishes / flatware                                                                                                     $10.00
       pots / pans /cookware                                                                                                 $15.00

  .    Collectibles of value
       books                                                                                                                 $20.00
       books                                                                                                                 $20.00
       books                                                                                                                 $20.00

 11.   Clothes
                                                                                                                            $100.00
                                                                                                                            $100.00
                                                                                                                            $100.00


 12. Jewelry
       costume jewelry                                                                                                       $10.00
       costume jewelry                                                                                                       $10.00
       costume jewelry                                                                                                       $10.00

 17. Deposits of money
       Checking account:                                                                                                     $30.00
       BBVA Account Number: 6763829799




Official Form 106A/I3                                              Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                    Bailey
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                         U    Check if this is an
  (it known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule AM: Property(Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Pageas necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to slate a specific dollar amount as
exempt. Alternatively you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       L.] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


      For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


 Brief description of the Property       line on             Current value of the         Amount of the exemption You claim        Specific laws that allow exemption
 —      ule An3
 Schedule                  this property                     portion you own
                that lists
                                                             Copy the value from          Check only one box for each exemption.
                                                             Schedule A/E1

      Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Li Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                No
           LI Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 1
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                                                                             Petition Page 33 of 63

 Fill in this information to identify your case:

  Debtor 1                       Sharnoya                                      Bailey
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                              Northern District of Georgia

  Case number                                                                                                                                              Li Check if this is an
  (If known)                                                                                                                                                   amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this fomi. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      LiYes. Fill in allot the information below.
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A                Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim         Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor's name.                                Do not deduct the       that supports         portion
                                                                                                                            value of collateral.    this claim            If any

                                                             Describe the property that secures the claim:
        Creditor's Name


        Number          Street
                                                             As of the date you file, the claim is: Check all that appiy.

        City                      State       ZIP Code
                                                             LiContingent

        Who owes the debt? Check one.                        LiUnliquidated
        Li Debtor 1 only                                     j Disputed
         j Debtor 2 only                                     Nature of lien. Check all that apply.
         j Debtor 1 and Debtor 2 only                        CiAn agreement you made (such as mortgage or
                                                                secured car loan)
        JAt least one of the debtors and another
                                                             IjStatutory lien (such as tax lien, mechanic's lien)
        LiCheck if this claim relates to a
          community debt                                     U Judgment lien from a lawsuit

        Date debt was incurred                               LiOther (including a right to offset)

                                                             Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                                    $0.00




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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Debtor 1              Shamoya                                      Bailey                                                 Case number (if known)
                      First Name           Middle Name             Last Name


                                                                                                                  Column A                Column 13             Column C
             Additional Page                                                                                      Amount of claim         Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with                                   Do not deduct the       that supports         portion
             2.3, followed by 2.4, and so forth.                                                                  value of collateral,    this claim            If any



                                                   Describe the property that secures the claim:
    Creditor's Name

    Number           Street
                                                   As of the date you file, the claim is: Cheek all that apply.

    City                      State   ZIP Code     UContingent
                                                   UiUnliquidated
    Who owes the debt? Check one.
    Li Debtor 1 only                               0 Disputed
       Debtor 2 only                               Nature of lien. Check all that apply.
       Debtor 1 and Debtor 2 only                  1:IAn agreement you made (such as mortgage or
                                                      secured car loan)
     JAt least one of the debtors and another
                                                   OStatutory lien (such as tax lien, mechanic's lien)
       Check if this claim relates to a
       community debt                              ElJudgment lien from a lawsuit

    Date debt was incurred                         DOther (including a right to offset)

                                                   Last 4 digits of account number




     Add the dollar value of your entries in Column A on this page. Write that number here:                                              $0.00

     If this is the last page of your form, add the dollar value totals from all pages. Write that number                                $0.00
     here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                        Case 21-57421-wlh                 Doc 1       Filed 10/04/21 Entered 10/04/21 14:19:59                                       Desc
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 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                   Bailey
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse. if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                               L.) Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A43: Property(Official Form 106A/I3) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

         any creditors have priority unsecured claims against you?
      IOU No. Go to Part 2.
      0 Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the daims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total        Priority         NonpriorIty
                                                                                                                                 claim        amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    U Contingent
                                                                    •   Unliquidated
        City                               State   ZIP Code
                                                                    U Disputed
        Who incurred the debt? Check one.
        •  Debtor 1 only                                            Type of PRIORITY unsecured claim:
        LI Debtor 2 only                                            U Domestic support obligations
        O Debtor 1 and Debtor 2 only                                U Taxes and certain other debts you owe the
        Li At least one of the debtors and another                     government
        U Check if this claim is for a community debt               IJ Claims for death or person injury while you were
                                                                       intoxicated
        Is the claim subject to offset?                             D Other. Specify
        U No
        O Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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Debtor 1              Shamoya                                          Bailey                                              Case number (if known)
                      First Name              Middle Name              Last Name

Part 2: List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes.
      List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of daim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim
                                                                                                                                                                     $15,315.00
4.1     American Credit Acceptance                                                Last 4 digits of account number na
        Nonpriority Creditor's Name                                               When was the debt incurred? 094)6/2019
        340 East Main Street Suite 400                                            As of the date you file, the claim is: Check all that apply.
        Number      Street
                                                                                  Li Contingent
        Spartanburg, SC 29302
        City                        State           ZIP Code                      LI Unliquidated
                                                                                  LI Disputed
        Who incurred the debt? Check one.
                                                                                  Type of NONPRIORITY unsecured claim:
        g Debtor 1 only
                                                                                  121 Student loans
        0 Debtor 2 only
                                                                                  U Obligations arising out of a separation agreement or
        Li Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
        LI At least one of the debtors and another
                                                                                  U Debts to pension or profit-sharing plans, and other
        U Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           g Other. Specify
        •    No                                                                       other
        Li Yes
                                                                                                                                                                         $160.00
        Comcast                                                                   Last 4 digits of account number na
        Nonpriority Creditors Name                                                When was the debt incurred?          04/08/2021
        1500 Market St.                                                           As of the date you file, the claim is: Check all that apply.
        Number        Street
                                                                                  U Contingent
        Philidelphia, PA 19102
        City                             State      ZIP Code                      LI Unliquidated
                                                                                  Li Disputed
         Who incurred the debt? Check one.
                                                                                  Type of NONPRIORITY unsecured claim:
         g Debtor 1 only
                                                                                  Li Student loans
         U Debtor 2 only
                                                                                  U Obligations arising out of a separation agreement or
         Li Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims
         U At least one of the debtors and another                                U Debts to pension or profit-sharing plans, and other
         Li Check if this claim is for a community debt                               similar debts
        Is the claim subject to offset?                                           ▪ Other. Specify
        ▪ No                                                                          utility bill
        U Yes
                                                                                                                                                                         $311.00
         Georgia Natural Gas                                                      Last 4 digits of account number na
         Nonpriority Creditor's Name                                               When was the debt incurred?         10/01/2020
         p.o. box 440667                                                          As of the date you file, the claim is: Check all that apply.
         Number       Street
                                                                                  U Contingent
          Kennesaw, GA 30160
         City                             State     ZIP Code                      LI Unliquidated
                                                                                  U Disputed
         Who incurred the debt? Check one.
                                                                                  Type of NONPRIORITY unsecured claim:
         g Debtor 1 only
                                                                                  LI Student loans
         Li Debtor 2 only
                                                                                  U Obligations arising out of a separation agreement or
         Li Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims
         LI At least one of the debtors and another                               Li Debts to pension or profit-sharing plans, and other
         Li Check if this claim is for a community debt                               similar debts
         Is the claim subject to offset?                                          g Other. Specify
         Vi No                                                                        utility bill
         U Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 2 of 6
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Debtor 1              Shamoya                                       Bailey                                           Case number (if known)
                      First Name              Middle Name           Last Name

Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.


      Navy Federal Cu                                                       Last 4 digits of account number na
      Nonpriority Creditor's Name                                           When was the debt incurred?         03/22/2017
      1 Security Place                                                      As of the date you file, the claim is: Check all that apply.
      Number        Street
                                                                            O Contingent
       Merrifield, VA 22119
      City                              State      ZIP Code                 •        Unliquidated
      Who incurred the debt? Check one.                                     U Disputed
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       O Debtor 2 only                                                      U Student loans
       0      Debtor 1 and Debtor 2 only                                    O Obligations arising out of a separation agreement or
                                                                              divorce that you did not report as priority claims
       CI At least one of the debtors and another
                                                                            U Debts to pension or profit-sharing plans, and other
       U Check if this claim is for a community debt                          similar debts
      Is the claim subject to offset?                                       Si6 Other. Specify
       66 No                                                                    credit card
       •      Yes

      Progressive                                                           Last 4 digits of account number na
      Nonpriority Creditor's Name                                           When was the debt incurred?          10/22/2018
      1521 West Cameron Ave.                                                As of the date you file, the claim is: Check all that apply
      Number     Street
                                                                            O Contingent
        West Covina, CA 91790
       City                                State   ZIP Code                 •        Unliquidated
       Who incurred the debt? Check one.                                    Li       Disputed
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       U Debtor 2 only                                                      El Student loans
       U Debtor 1 and Debtor 2 only                                         Li    Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       U At least one of the debtors and another
                                                                                U Debts to pension or profit-sharing plans, and other
       •      Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                          S6 Other. Specify
       RI No                                                                       utility bill
       U Yes

4.6    Santander Consumer USA                                                   Last 4 digits of account number na
       Nonpriority Creditor's Name                                              When was the debt incurred?      08/27/2020
       P.O. Box 961245                                                      As of the date you file, the claim is: Check all that apply.
       Number       Street
                                                                                •    Contingent
       Fort Worth, TX 76161
       City                                State   ZIP Code                     Li   Unliquidated
           Who incurred the debt? Check one.                                    Li   Disputed
       R1 Debtor 1 only                                                         Type of NONPRIORITY unsecured claim:
           O Debtor 2 only                                                      O Student loans
           U Debtor 1 and Debtor 2 only                                         U Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
           U At least one of the debtors and another
                                                                                U Debts to pension or profit-sharing plans, and other
           U Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                          RI Other. Specify
               No                                                                  other
           U Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 6
                     Case 21-57421-wlh                  Doc 1     Filed 10/04/21 Entered 10/04/21 14:19:59                                  Desc
                                                                 Petition Page 38 of 63

Debtor 1             Shamoya                                    Bailey                                             Case number (if known)
                     First Name           Middle Name           Last Name

Part 2: Your NONPRIORITY Unsecured Claims- Continuation Page

 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


       Wells Fargo Bank Car Credit Dispute Resoluti                       Last 4 digits of account number na
      Nonpriority Creditors Name                                          When was the debt incurred?         07/20/2016
      233 Center ST                                                       As of the date you file, the claim is: Check all that apply.
      Number      Street
                                                                          U    Contingent
       Des Moines, IA 50306
      City                            State     ZIP Code                  LI   Unliquidated
       Who incurred the debt? Check one.                                  Li Disputed
             Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
       O     Debtor 2 only                                                •    Student loans

       Li Debtor 1 and Debtor 2 only                                      U Obligations arising out of a separation agreement or
                                                                            divorce that you did not report as priority claims
       U At least one of the debtors and another
                                                                          LI Debts to pension or profit-sharing plans, and other
       LI    Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    SA Other. Specify
       sti   No                                                              credit card
       LI Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 6
                   Case 21-57421-wlh                    Doc 1       Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
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Debtor 1               Stramoya                                    Bailey                                           Case number (if known)
                       First Name         Middle Name              Last Name

Part 3: List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, If a collection
    agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
    if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
    to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        AFNI                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
       1310 Martin Luther King Drive                                 Line   4.2   of (Check one): D    Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    A    Part 2: Creditors with Nonpriority Unsecured Claims
        Bloomington, IL 61701
       City                                 State     ZIP Code       Last 4 digits of account number

       American Credit Acceptance                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
       340 East Main Street Suite                                    Line   4.1   of (Check one): Li Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    A Part 2: Creditors with Nonpriority Unsecured Claims
       Spartanburg, 29302
       City                                 State     ZIP Code       Last 4 digits of account number

        Caine & Weiner                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
       2000 Warrington Way                                           Line   4.5   of (Check one): Li Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    A Part 2: Creditors with Nonpriority Unsecured Claims
        Louisville, KY 40222
       City                                 State      ZIP Code      Last 4 digits of account number

        Convergent Outsourcing                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        800 SW 39th Street, SUite 100                                Line   4.3   of (Check one): Li Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    di Part 2: Creditors with Nonpriority Unsecured Claims
        Renton, WA 98057
       City                                 State      ZIP Code      Last 4 digits of account number

        Navy Federal Cu                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        One Security Place                                           Line   4.4   of (Check one): j    Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    OU Part 2: Creditors with Nonpriority Unsecured Claims
        Merrifield, VA 22119
       City                                  State     ZIP Code      Last 4 digits of account number

        NCB Management Services                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        1 Allied Drive                                               Line   4.6   of (Check one): 1—.1 Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    A Part 2: Creditors with Nonpriority Unsecured Claims
        Feasterville, PA 19053
       City                                  State     ZIP Code      Last 4 digits of account number

        Wells Fargo Bank Car                                         On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        233 Center ST                                                Line   4.7   of (Check one): j    Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    A Part 2: Creditors with Nonpriority Unsecured Claims
        Des Moines, IA 50306
       City                                  State     ZIP Code      Last 4 digits of account number

                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                     Line         of (Check one):D Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    .1
                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                     Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 6
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                                                                  Petition Page 40 of 63

 Debtor 1              Shamoya                                     Bailey                                      Case number (if known)
                       First Name           Middle Name            Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a.Domestic support obligations                               6a.                               $0.00
 Total claims
 from Part 1       6b.Taxes and certain other debts you owe the                  6b.                               $0.00
                      government

                   6c.Claims for death or personal injury while you              6c.                               $0.00
                      were intoxicated

                   6d.Other. Add all other priority unsecured daims.             6d.   +                           $0.00
                        Write that amount here.

                   6e.Total. Add lines 6a through 6d.                            6e.
                                                                                                                    $0.00




                                                                                            Total claim


                   6f.Student loans                                              6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h.Debts to pension or profit-sharing plans, and              6h.                               $0.00
                      other similar debts

                   6i.Other. Add all other nonpriority unsecured claims.         6i.                          $33,882.00
                        Write that amount here.

                   6j.Total. Add lines 6f through 6i.                            6j.
                                                                                                               $33,882.00




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 6 of 6
                        Case 21-57421-wlh                   Doc 1       Filed 10/04/21 Entered 10/04/21 14:19:59                                      Desc
                                                                       Petition Page 41 of 63
 Fit in this information to identify your case:

  Debtor 1                    Shamoya                                    Bailey
                              First Name           Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name          Last Name

  United States Bankruptcy Court for the:                         Northern District of Georgia

  Case number                                                                                                                                 Li Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        RIYes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rant,
   vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.




      Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1                                                                                               Home Rental
        Quintina Enyi
        Name
        37175 Windy Hill Lane
        Number    Street
        Solon, OH 30315
        City                               State    ZIP Code

2.2 .

        Name

        Number       Street

        City                               State    ZIP Code

2.3

        Name

        Number       Street

        City                               State    ZIP Code

2.4

        Name

        Number       Street

        City                               State    ZIP Code




Official Form 1063                                             Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                          Case 21-57421-wlh                  Doc 1         Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
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 Fill in this information to identify your case:

  Debtor 1                       Shamoya                                   Bailey
                                First Name           Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)           First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                           Northern District of Georgia

  Case number                                                                                                                               U      Check if this is an
  (if known)                                                                                                                                       amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        66 No
        ['Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No. Go to line 3.
        Li Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
             D yes. In which community state or territory did you live?                                      Fill in the name and current address of that person.


                Name

                Number          Street

                City                                 State   ZIP Code
        In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
        codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F(Official
        Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:

3.1                                                                                                               llSchedule D, line
      Name                                                                                                        ['Schedule E/F, line

      Number           Street                                                                                     LiSchedule G, line

      City                                   State    ZIP Code




Official Form 106H                                                            Schedule I-I: Your Codebtors                                                               Page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Sharnoya                                      Bailey
                             First Name                Middle Name        Last Name

  Debtor 2
  (Spouse, it filing)        First Name                Middle Name        Last Name                                             Check if this is:

  United States Bankruptcy Court for the:                            Northern District of Georgia                                jAn amended filing
                                                                                                                                      A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 1061
Schedule I: Your Income                                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                    Debtor 1                                      Debtor 2 or non-filing spouse


     If you have more than one job,                Employment status            gi Employed j Not Employed                    ljEmployed D Not Employed
     attach a separate page with
     information about additional                  Occupation                   Video Production
     employers.
                                                   Employer's name             Atlanta Hawks
     Include part time, seasonal, or
     self-employed work.
                                                   Employer's address           101 Marietta St NW
     Occupation may indude student                                               Number Street                                 Number Street
     or homemaker, if it applies.




                                                                                Atlanta, GA 30303
                                                                                 City                  State   Zip Code        City                     State     Zip Code
                                                   How long employed there? 3 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.




 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.                2.                $0.00                      $0.00

 3. Estimate and list monthly overtime pay.                                                    3. 4.             $0.00                      $0.00


. 4. Calculate gross income. Add line 2 + line 3.                                              4.                $0.00                      $0.00




Official Form 1061                                                               Schedule I: Your Income                                                                page 1
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Debtor 1              Shamoya                                       Bailey                                            Case number (if known)
                      First Name            Middle Name             Last Name




      Copy line 4 here                                                                     4.                    $000                     $0.00
      List all payroll deductions:
      5a.Tax, Medicare, and Social Security deductions                                     5a                    $0.00                    $0.00
      5b.Mandatory contributions for retirement plans                                      5b.                   $0.00                    $0.00
      5c.Voluntary contributions for retirement plans                                      5c.                   $0.00                    $0.00
      5d.Required repayments of retirement fund loans                                      5d.                   $0.00                    $0.00
      5e.Insurance                                                                         5e.                   $0.00                    $0.00
      5f.Domestic support obligations                                                      5f.                   $0.00                    $0.00
      5g. Union dues                                                                       5g.                   $0.00                    $0.00

      5h.Other deductions. Specify:                                                         5h. +                $0.00       +            $0.00

 6.   Add the payroll deductions. Add lines 5a+ 5b + Sc + 5d + 5e +5f+ 5g + 5h.             6.                   $0.00                    $0.00
 7.   Calculate total monthly take-home pay Subtract line 6 from line 4.                    7.                   $0.00                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
           Attach a statement for each property and business showing gross receipts,
           ordinary and necessary business expenses, and the total monthly net income.      8a.                  $0.00                    $0.00
      8b. Interest and dividends                                                            8b.                  $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                             8c.                  $0.00
      8d. Unemployment compensation                                                         8d.                  $0.00                    $0.00
      Be. Social Security                                                                   8e.                  $0.00                    $0.00
      8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                         8f.                  $0.00                    $0.00
      8g. Pension or retirement income                                                      8g.                  $0.00                    $0.00

      8h. Other monthly income. Specify:                                                    8h. +                $0.00       +             $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                 9.                   $0.03                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse              10.                  $0.03                     $0.00                 $0.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                 11.+            $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                   12.               $0.00
                                                                                                                                                      Combined
                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      A No.
           Yes. Explain:


Official Form 1061                                                          Schedule I: Your Income                                                             page 2
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                                                            Petition Page 45 of 63
 Debtor 1            Shamoya                                Bailey                          Case number (if known)
                     First Name       Middle Name           Last Name




   1. Employment information for Debtor 1
        Occupation                  Video Production

        Employer's name             Atlanta Hawks

        Employer's address          101 Marietta St NW
                                     Number Street



                                    Atlanta, GA 30303
                                     City                               State   Zip Code

        How long employed there?    3 years




Official Form 1061                                                Schedule I: Your Income                                   page 3
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                                                                        Petition Page 46 of 63
 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                     Bailey
                             First Name             Middle Name         Last Name                                  Check if this is:
  Debtor 2                                                                                                         jAn amended filing
  (Spouse, if filing)        First Name             Middle Name          Last Name                                 JA supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                         Northern District of Georgia

  Case number                                                                                                          MM / DD / YYYY
  (if known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15

Be as complete and accurate as possible. If two maffied people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

      gi No. Go to line 2.
      LiYes. Does Debtor 2 live in a separate household?
                     No
                 :-...1Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

 2    Do you have dependents?                       No
      Do not list Debtor 1 and                                                           Dependent's relationship to          Dependent's         Does dependent live
                                                    Yes. Fill out this information for
      Debtor 2.                                                                          Debtor 1 or Debtor 2                                     with you?
                                                    each dependent
      Do not state the dependents' names.
                                                                                                                                                   1=I No.   Li ves.
                                                                                                                                                   [Li No. Li ves.
                                                                                                                                                   L] No.    Li ves.
                                                                                                                                                   j No.     DYes.
                                                                                                                                                   LiNo. Li ves.
 3. Do your expenses include expenses                No
    of people other than yourself and              LiYes
    your dependents?


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule!: Your Income (Official Forrn 1061.)

 4.   The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
      ground or lot.                                                                                                              4.                      $1,500.00


      If not included in line 4:
                                                                                                                                  4a                          $80.00
      4a.Real estate taxes
                                                                                                                                  4b.                          $0.00
      4b.Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                          $0.00
      4c.Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                          $0.00
      4(1. Homeowner's association or condominium dues




Official Form 106J                                                                  Schedule J: Your Expenses                                                           page 1
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Debtor 1             Shamoya                                         Bailey                                  Case number (if known)
                     First Name              Middle Name             Last Name

                                                                                                                             Your experises


     Additional mortgage payments for your residence, such as home equity loans                                    5.                           $0.00

     Utilities:
                                                                                                                                              $200.00
     6a. Electricity, heat, natural gas                                                                            6a.
                                                                                                                                               $50.00
     6b. Water, sewer, garbage collection                                                                          6b.
     6c. Telephone, cell phone, Internet, satellite, and cable services                                            6c.                        $150.00

     6d.Other. Specify:                          Other utilities                                                   6d.                          $0.00

     Food and housekeeping supplies                                                                                7.                         $100.00

8    Childcare and children's education costs                                                                      8.                           $0.00

9.   Clothing, laundry, and dry cleaning                                                                           9.                           $0.00

10. Personal care products and services                                                                            10.                          $0.00

11   Medical and dental expenses                                                                                   11.                          $0.00

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                   12.                          $0.00
    Do not include car payments.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                          $0.00

14. Charitable contributions and religious donations                                                                14.                         $0.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
                                                                                                                                                $0.00
     15a. Life insurance                                                                                            15a.
                                                                                                                    15b.                        $0.00
     15b. Health insurance
                                                                                                                    15c.                        $0.00
     15c.Vehicle insurance
                                                                                                                    15d.                        $0.00
     15d. Other insurance. Specify:

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                    16.                         $0.00
     Specify:

17. Installment or lease payments:
                                                                                                                    17a.                        $0.00
     17a. Car payments for Vehicle 1
                                                                                                                    17b.                        $0.00
      17b.Car payments for Vehicle 2
                                                                                                                    17c.                        $0.00
      17c. Other. Specify:                  Other Payments
                                                                                                                    17d.                        $0.00
      17d. Other. Specify:                Recreational Vehicle

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
                                                                                                                    18.                         $0.00
     from your pay on line 5, Schedule I, Your Income (Official Form 1061).

 19. Other payments you make to support others who do not live with you.
                                                                                                                    19.                         $0.00
      Specify:

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

      20a. Mortgages on other property                                                                              20a.                        $0.00

      20b. Real estate taxes                                                                                        20b.                        $0.00
      20c.Property, homeowner's, or renter's insurance                                                              20c.                        $0.00
      20d. Maintenance, repair, and upkeep expenses                                                                 20d.                        $0.00
      20e. Homeowner's association or condominium dues                                                              20e.                        $0.00




Official Form 106J                                                               Schedule J: Your Expenses                                              page 2
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Debtor 1              Shamoya                                      Bailey                                  Case number (if known)
                      First Name             Middle Name           Last Name



al. Other. Specify:                                                                                              21.                       $0.00

22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                                22a.                 $2,080.00

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                      $0.00

     22c.Add line 22a and 22b. The result is your monthly expenses.                                              22c.                 $2,080.00


23. Calculate your monthly net income.
                                                                                                                 23a.                      $0.00
     23a. Copy line 12 (your combined monthly income) from Schedule I.
                                                                                                                 23b.                  $2,080.00
     23b. Copy your monthly expenses from line 22c above.

     23c.Subtract your monthly expenses from your monthly income.
                                                                                                                 23c.                ($2,080.00)
             The result is your monthly net income.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
                     None
      j    Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                           page 3
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 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                   Bailey
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                          [—.1 Check if this is an
  (if known)                                                                                                                                amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15

If you are an individual filing under chapter 7, you must fill out this form if:
• creditors have claims secured by your propertA or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property(Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
                     Case 21-57421-wlh                     Doc 1    Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
                                                                   Petition Page 50 of 63
Debtor 1             Shamoya                                       Bailey                                        Case number (if known)
                     First Name              Middle Name           Last Name


Part 2: List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                                                Will the lease be assumed?

    Lessor's name:                Quintina Enyi                                                                                           No

                                                                                                                                    CI Yes
    Description of leased
    property:                     Home Rental

    Lessor's name:                                                                                                                  Li    No

                                                                                                                                    Li Yes
    Description of leased
    property:

    Lessor's name:                                                                                                                  Li No

                                                                                                                                    Li Yes
    Description of leased
    property:

    Lessor's name:                                                                                                                  Li    No

                                                                                                                                    Li Yes
    Description of leased
    property:

    Lessor's name:                                                                                                                        No

                                                                                                                                    CI Yes
    Description of leased
    property:

    Lessor's name:                                                                                                                   LI No

                                                                                                                                    lj Yes
    Description of leased
    property:

    Lessor's name:                                                                                                                   CI   No

                                                                                                                                     Li Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



  X     /s/Shamo
      Signature


      Date 10A)4/2021
            MM/ DD/ YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                              page 2
                        Case 21-57421-wlh                Doc 1        Filed 10/04/21 Entered 10/04/21 14:19:59                                       Desc
                                                                     Petition Page 51 of 63
 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                   Bailey
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                              U      Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                   Your assets
                                                                                                                                                   Value of what you own

 1. Schedule A/B: Properly (Official Form 106A/B)
    la. Copy line 55, Total real estate, from Schedule AB                                                                                                                  80.00

    lb. Copy line 62, Total personal property, from Schedule AB                                                                                                          $600.00


    lc. Copy line 63, Total of all property on Schedule AB                                                                                                               $600.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                   Your liabilities
                                                                                                                                                   Amount you owe

  2.Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                                                     $0.00

 3.Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                           $0.00
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total daims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                                                   $33,882.00


                                                                                                                         Your total liabilities                       $33,882.00

 Part 3: Summarize Your Income and Expenses


  4.Schedule!: Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule!                                                                                                            $0.00


  5.Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J                                                                                                              $2,080.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                        page 1 of 2
                       Case 21-57421-wlh                   Doc 1        Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
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 Debtor 1              Shamoya                                         Bailey                                             Case number (if known)
                       First Name             Middle Name              Last Name


 Part 4: Answer These Questions for Administrative and Statistical Records



6.Are you filing for bankruptcy under Chapters 7, 11, or 13?
   U     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         Yes



7. What kind of debt do you have?
   A     Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   Ll Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
      this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                   $0.00




9.Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




        From Part 4 on Schedule E/F, copy the following:


       9a.Domestic support obligations (Copy line 6a.)                                                                                     $0.00



       9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                                            $0.00



       9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                  $0.00



       9d.Student loans. (Copy line 6f.)                                                                                                   $0.00



       9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                 $0.00
          claims. (Copy line 6g.)


       9f.Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                                              $0.00



       9g. Total. Add lines 9a through 9f.                                                                                                $0.00




Official Form 106Sum                                     Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                        Case 21-57421-wlh                 Doc 1        Filed 10/04/21 Entered 10/04/21 14:19:59                                  Desc
                                                                      Petition Page 53 of 63

 Fill in this information to identify your case:

  Debtor 1                    Shamoya                                  Bailey
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                           U    Check if this is an
  (If known)                                                                                                                                 amended filing



Official Form 106Dec
Declaration About an Individual Debtoes Schedules                                                                                                                   12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




             Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   13   No
        Yes. Name of person Lewis, Charles                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




    Under penalty of perjury I declare that I have read the summary and schedules filed with this declaration and that they are true and correct




          /s/Shamo a Bailey
         Shamoya Bailey, De t1 1; )
                                   ,
         Date 10/04/2021
               MM/ DD/ YYYY




Official Form 106Dec                                             Declaration About an Individual Debtor's Schedules
                Case 21-57421-wlh
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                                           United States Bankruptcy Court
                                            Northern District of Georgia

 In re Bailey, Shamoya                                                                           Case No
                 Debtor
                                                                                                 Chapter   Chapter 7

                           DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
          [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

 1.           Under 11           § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
              attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
              debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before the
              filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the debtor(s) in
              contemplation of or in connection with the bankruptcy case is as follows:

 For document preparation services I have agreed to                                              A-c19.4-4
 accept
 Prior to the filing of this statement I have                                           $0.00
 received
 Balance Due                                                                             $0.00

 2.           I have prepared or caused to be prepared the following documents (itemize):
              Chapter 7 Petition & Schs
              and provided the following services (itemize):

 3.           The source of the compensation paid to me was:
                    Vi Debtor                    CI   Other (specify)
 4.           The source of the compensation paid to me is:
                    61I Debtor                   Li   Other (specify)
 5.           The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of
              the petition filed by the debtor(s) in this bankruptcy case.
 6.           To my knowledg       other person ha •rep ed for compensation a document for filing in connection with this
              bankrup   #as       ept as listed b

 NAME                                                            SOCIAL SECURITY NUMBER
 /s/ Charles Le                                                     411-         - 99.2-1 -                   10/4/2021
         Signature                                               Social Security number of                      Date
                                                                 bankruptcy petition preparer"


 Charles Lewis                                                 1100 Peachtree Street NE Ste 200 Atlanta, GA 30309
 Printed name and title, if any, of Bankruptcy Petition        Address
 Preparer

* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                                                      Petition Page 55 of 63

 Fill in this information to identify your case:

  Debtor 1                   Shamoya                                   Bailey
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number
  (if known)


Official Form 119
Bankruptcy Petition Preparers Notice, Declaration, and Signature                                                                                               12/ 15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the case. If more than one
bankruptcy petition preparer helps with the documents, each must sign in Part 3.A bankruptcy petition preparer who does not comply with the provisions of title 11
of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined, imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




 Part 1: Notice to Debtor



Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for filing or accept any
compensation. A signed copy of this form must be filed with any document prepared.

    Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:


    M whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

    m whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

    M whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

    N whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

    M what tax consequences may arise because a case is filed under the Bankruptcy Code;

    m whether any tax claims may be discharged;

    M whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

    m how to characterize the nature of your interests in property or your debts; or

    m what procedures and rights apply in a bankruptcy case.




    The bankruptcy petition preparer                                           Charles Lewis                                      has notified me of
                                           Name
    any maximum allowable fee before preparing any document for filing or accepting any fee.




                                                /s/Shamo al                                                           Date      1004/2021
             ure of      tor 1 acknowledging receipt of this notice                                                          MM/ DD/ YYYY



 Date
         MW DD/ YYYY




Official Form 119                                            Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                  page 1
                      Case 21-57421-wlh                     Doc 1          Filed 10/04/21 Entered 10/04/21 14:19:59                                   Desc
                                                                          Petition Page 56 of 63
 Debtor 1             Shamoya                                             Bailey                                          Case number (if known)
                      First Name               Middle Name                  Last Name




 Part 2: Declaration and Signature of the Bankruptcy Petition Preparer



  Under penalty of perjury I declare that:


      1 am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

  al I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition Preparer as required by 11 U.S.C.
     §§110(b), 110(h), and 342(b); and

      if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy preparers may charge, 1 or my firm
      notified the debtor of the maximum amount before preparing any document for filing or before accepting any fee from the debtor.

      Charles Lewis                                                                       Next Step Capital Partners
      Printed name                                      Title, if any                     Firm name, if it applies

      1100 Peachtree Street NE Ste 200
      Number       Street

      Atlanta, GA 30309                                                                   (404) 400-2780
      City                                             State            ZIP Code          Contact phone


      I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
      (Check all that apply.)

         Voluntary Petition (Form 101)                          Li Schedule 1 (Form 1061)                                 ['Chapter 11 Statement of Your Current Monthly
                                                                                                                             Income (Form 122B)
      Li Statement About Your Social Security Numbers           DSchedule J (Form 106J)
         (Form 121)                                                                                                       ['Chapter 13 Statement of Your Current Monthly
                                                                 LiDeclaration About an Individual Debtor's                  Income and Calculation of Commitment Period
      LiYour Assets and Liabilities and Certain Statistical         Schedules (Form 106Dec)                                  (Form 122C-1)
         Information (Form 106Sum)
                                                                LIStatement of Financial Affairs (Form 107)               CIChapter 13 Calculation of Your Disposable
      JSchedule A/B (Form 106AB))                                                                                           Income (Form 122C-2)
                                                                LIStatement of Intention for Individuals Filing Under
      USchedule C (Form 106C)                                      Chapter 7 (Form 108)                                   LlApplication to Pay Filing Fee in Installments
                                                                                                                             (Form 103A)
      JSchedule D (Form 106D)                                   JChapter 7 Statement of Your Current Monthly
                                                                  Income (Form 122A-1)                                    ['Application to Have Chapter 7 Filing Fee Waived
      DSchedule E/F (Form 106E/F)                                                                                            (Form 103B)
                                                                DStatement of Exemption from Presumption of
      DSchedule G (Form 106G)                                     Abuse Under § 707(b)(2)                                 LJA list of names and addresses of all creditors
                                                                  (Form 122A-1Supp)                                         (creditor or mailing matrix)
      LiSchedule H (Form 106H)
                                                                 jChapter 7 Means Test Calculation (Form 122A-2)
                                                                                                                          DOther




  Bankruptcy petition preparers must sign and give         Social Security numbers. If more than one bankruptcy petition preparer prepared the documents to which this
  declaration               nature and Social S           number of each preparer must be provided. 11 U.S.C. § 110.



  X                                   rl L                                                                69- qq2+                            Date      10/04/2021
      SignatFof bankruptcy petition preparer or officer, principal, responsible           Social Security number of person who signed                MM/ DD/ YYYY
      person, or partner

                                   Charles Lewis
      Printed name




Official Form 119                                              Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                             page 2
                        Case 21-57421-wlh                 Doc 1       Filed 10/04/21 Entered 10/04/21 14:19:59 Desc
                                                                                               Check one box only as directed in this form and in Form
 Fill in this information to identify your case:                     Petition Page 57 of 63   122A-1Supp:
  Debtor 1                  Shamoya                                    Bailey
                            First Name             Middle Name        Last Name                                      if1. There is no presumption of abuse.
                                                                                                                     U2. The calculation to determine if a presumption of
  Debtor 2
  (Spouse, if filing)                                                                                                 abuse applies will be made under Chapter 7 Means
                            First Name             Middle Name        Last Name
                                                                                                                      Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Northern District of Georgia
                                                                                                                     J3. The Means Test does not apply now because of
  Case number                                                                                                          qualified military service but it could apply later.
  (if known)
                                                                                                                         Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      64 Not married. Fill out Column A, lines 2-11.
      U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      U Mauled and your spouse is NOT filing with you. You and your spouse am:
              Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S C §
  101(10A). For example if you are filing on September 15, the 6-month period would be March 1through August Si. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6, Fill in the result. Do not include any income amount more than once, For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                               Column A                Column B
                                                                                                               Debtor 1                Debtor 2 or
                                                                                                                                       non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                            $0.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.                                                                                                              $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not include payments you listed on
    line 3.                                                                                                                 $0.00
 5. Net income from operating a business, profession,
                                                                       Debtor 1         Debtor 2
    or farm
      Gross receipts (before all deductions)                               $0.00
      Ordinary and necessary operating expenses                             $0.00   -

                                                                           $0.00                   Copy
      Net monthly income from a business, profession, or farm                                      here
                                                                                                                            $0.00

 6. Net income from rental and other real property                     Debtor 1         Debtor 2
      Gross receipts (before all deductions)                               $0.00
      Ordinary and necessary operating expenses                             $0.00
                                                                                                   Copy
                                                                           $0.00
      Net monthly income from rental or other real property                                        here
                                                                                                                            $0.00

 7. Interest, dividends, and royalties                                                                                      $0.00

 Official Form 122A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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Debtor 1               Shamoya                                        Bailey                       Case number (if known)
                       First Name               Middle Name
                                                                      Petition
                                                                       Last Name
                                                                                 Page 58 of 63
                                                                                                            Column A            Column B
                                                                                                            Debtor 1            Debtor 2 or
                                                                                                                                non-tiling spouse
      8. Unemployment compensation                                                                                     $0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
           For you                                                                                 $0.00
           For your spouse

      9. Pension or retirement income. Do not include any amount received that was a benefit                           $0.00
         under the Social Security Act. Also, except as stated in the next sentence, do not include
         any compensation, pension, pay, annuity, or allowance paid by the United States
         Government in connection with a disability, combat-related injury or disability, or death of a
         member of the uniformed services. If you received any retired pay paid under chapter 61 of
         title 10, then include that pay only to the extent that it does not exceed the amount of retired
         pay to which you would otherwise be entitled if retired under any provision of title 10 other
         than chapter 61 of that title.
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act; payments made under
          the Federal law relating to the national emergency declared by the President under the
          National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
          disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
          against humanity, or international or domestic terrorism; or compensation, pension, pay,
          annuity, or allowance paid by the United States Government in connection with a
          disability combat-related injury or disability or death of a member of the uniformed
          services. If necessary, list other sources on a separate page and put the total below




     Total amounts from separate pages, if any
                                                                                                                       $0.00                                  $0.00
      11. Calculate your total current monthly income. Add lines 2 through 10 for each
          column. Then add the total for Column A to the total for Column B.                                                                           Total current
                                                                                                                                                      monthly Income

 Part 2: Determine Whether the Means Test Applies to You

12 Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11                                                                    Copy line 11 hem —>          $0.00

            Multiply by 12 (the number of months in a year).                                                                                          x12
   12b. The result is your annual income for this part of the form.                                                                            12b.         $0.00

13. Calculate the median family income that applies to you. Follow these steps'
   Fill in the state in which you live                         Georgia

    Fill in the number of people in your household.

   Fill in the median family income for your state and size of household                                                                        13.    $53,105.00
   To find a list of applicable median income amounts, go online using the link specified in the separate
   instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

   14a.RiLine 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
             Go to Part 3. Do NOT fill out or file Official Form 122A-2.
   14b.LILine 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A-2.




Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                         page 2
                   Case 21-57421-wlh                      Doc 1       Filed 10/04/21 Entered 10/04/21 14:19:59 Desc
Debtor 1             Shamoya                                         Bailey
                                                                     Petition Page 59 of 63      Case number (if known)
                     First Name              Middle Name               Last Name
Part 3: Sign Below

    By signing here, I declare under       Ity of per'          e information on this statement and in any attachments is true and correct.

           /s/Shamoya Bailey
       Signature of Debtor

       Date 10/04/2021
             MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A-2,
    If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                               Chapter 7 Statement of Your Current Monthly Income                         page 3
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                             AFNI
                             1310 Martin Luther King Drive
                             Bloomington, IL 61701




                             American Credit Acceptance
                             340 East Main Street Suite
                             Spartanburg29302




                             American Credit Acceptance
                             340 East Main Street Suite 400
                             Spartanburg, Sc 29302




                             Caine & Weiner
                             2000 Warrington Way
                             Louisville, KY 40222




                             Com cast
                             1500 Market St.
                             Philidelphia, PA 19102




                             Convergent Outsourcing
                             800 SW 39th Street, SUite 100
                             Renton, WA 98057




                             Georgia Natural Gas
                             p.o. box 440667
                             Kennesaw, GA 30160




                             Navy Federal Cu
                             One Security Place
                             Merrifield, VA 22119
Case 21-57421-wlh   Doc 1    Filed 10/04/21 Entered 10/04/21 14:19:59   Desc
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                             Navy Federal Cu
                             1 Security Place
                             Merrifield, VA 22119




                             NCB Management Services
                             1 Allied Drive
                             Feasterville, PA 19053




                             Progressive
                             1521 West Cameron Ave.
                             West Covina, CA 91790




                             Qui ntina Enyi
                             37175 Windy Hill Lane
                             Solon, OH 30315




                             Santander Consumer USA
                             P.O. Box 961245
                             Fort Worth, TX 76161




                             Wells Fargo Bank Car
                             233 Center ST
                             Des Moines, IA 50306




                             Wells Fargo Bank Car Credit
                             Dispute Resoluti
                             233 Center ST
                             Des Moines, IA 50306
   Case 21-57421-wlh     Doc 1    Filed 10/04/21 Entered 10/04/21 14:19:59   Desc
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT 401265765 (RS) OF 10/04/2021


ITEM   CODE    CASE          QUANTITY                        AMOUNT   BY

   1     7IN   21-57421              1                       $ 0.00   Currency
               Judge - unknown at time of receipt
               Debtor - SHAMOYA BAILEY


TOTAL:                                                       $ 0.00


FROM: Shamoya Bailey
      699 Formwalt St SW
      Atlanta, GA 30315




                                    Page 1 of 1
                  Case 21-57421-wlh                  Doc 1      Filed 10/04/21 Entered 10/04/21 14:19:59                                  Desc
                                                               Petition Page 63 of 63
   Case Number: 21-57421                             Name: Bailey                                                              Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                              1=1 Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                          1=1 Last 4 digits of SSN
 El Pro Se Affidavit (due within 7 days, signature must be notarized,                          LI Address El County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                          LI Type of Debtor
 0 Signed Statement of SSN (due within 7 days)                                                 O Chapter
                                                                                               0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        1=1 Statistical Estimates
   0 Statement of Financial Affairs                                                            1=1 Venue
   LI Schedules: A/BCDE/F GHIJO J-2 (d(erent address for Debtor 2)                             O Attorney Bar Number
   O Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules                                                                       Case filed via:
   O Attorney Disclosure of Compensation                                                  El Intake Counter by:
   El Petition Preparer's Notice, Declaration and Signature (Form 119)                         O Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)                              1=1 Debtor - verified ID
   O Chapter 13 Current Monthly Income                                                        1E1 Other - copy of ID: Charles Edward Lewis III
   O Chapter 7 Current Monthly Income                                                     404-400-2780
   O Chapter 11 Current Monthly Income
   1=1 Certificate of Credit Counseling (Individuals only)                                El Mailed by:
   1=1 Pay Advices (Individuals only) (2 Months)                                              D Attorney
   1=1 Chapter 13 Plan, complete with signatures (local form)                                 El Debtor
   1=1 Corporate Resolution (Business Ch. 7 & 11)                                             0 Other:

   Ch.11 Business                                                                         0 Email [Pursuant to General Order 45-2021, this
   LI 20 Largest Unsecured Creditors                                                      petition was received for filing via email]
   O List of Equity Security Holders
   D Small Business - Balance Sheet                                                                                   Case As ciatio
   O Small Business - Statement of Operations                                             Prior ca
   O Small Business - Cash Flow Statement
   O Small Business - Federal Tax Returns                                                 Signat
                                                                                          Acknow       gment of receipt of Deficiency Notice
   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/banIcruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
        EZ Paid $     0       2g-Order Granting       D 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
           2d-Order Denying with filing fee of $        due within 10 days [E] IFP filed (Ch.7 Individuals Only)
        E1 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                            All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000
 Intake Clerk:    R.Smith                  Date: 10/4/21                        Case Opener:                                           Date:
